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               EXHIBIT “3”
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                            IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


  KETRA GOINS,                                  i
                                                i


               Plaintiff,                       ; CIVIL ACTION
                                                i FILE NO.: l:23-cv-02951-SDG
                                                i
  v.
                                                i
                                                i
  MARK SEAGRAVES AND OLD                        i

                                                i
  DOMINION FREIGHT LINE, INC.,
                                                i
                                                i

               Defendants.                      i



                               Declaration of Matthew R. Sessions


             My name is Matthew R. Sessions. I am over the age of majority and of sound


mind and suffer from no legal disability. I am competent to provide this declaration.


                                               1.


             I am a partner with the law firm of McMickle, Kurey & Branch, LLP, and I


am licensed to practice in the Northern District of Georgia. I make this declaration


on personal knowledge and as an officer of the Court.


                                               2.


             On June 28, 2024, I was at my firm’s office located at 217 Roswell Street,


Alpharetta, Georgia 30009, when an individual representing herself to be Helen


Yesuf came to the front door and asked to speak to an attorney.


                                               3.


             Ms. Yesuf introduced herself to me and told me she was an employee of

Ml 229749.1 16508                              1
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Georgia Spine and Orthopaedics (“Georgia Spine”) and indicated that the reason for


her visit to my firm was for marketing purposes.


                                            4.


             She provided me with a Georgia Spine branded folder, which included this


enclosed business card:




                                                       HELEN YESUF
                                                       COMMUNITY LIAISON




                                                          (470)608-3511 (g)

                                              helen@gaspineortho.com
                     GEORGIA SPINE
                    & ORTHOPAEDICS                www.gaspineortho.cof r , (S|



This photo is a true and accurate copy of the business card that Helen Yesuf gave to

me and is also attached hereto as Exhibit “1”


                                             5.


             The entirety of my conversation with Ms. Yesuf was recorded, and the


recording was transcribed. I have personally reviewed the transcript and the recorded


audio and compared them to each other. A true and accurate copy of the transcript

of the conversation is attached hereto as Exhibit “2”. A link to the true and accurate

copy of the audio recording is attached hereto as Exhibit “3”.




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                                              6.


             Following my conversation with Ms. Yesuf, I located a Linkedln profile for


an individual named Helen Yesuf who works as a Community Liaison for Georgia


Spine. The Linkedln profile picture for Helen Yesuf matches the woman I met with


on June 28, 2024.




I declare under penalty of perjury that the foregoing is true and correct.

                    This 2    day of                      , 2024.
                                               r




                                                   Matthew R. Sessions




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                  EXHIBIT 1
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                                                                                          HELEN YESUF
                                                                                          COMMUNITY LIAISON


                                                 V             *
                                                                                            (470)608-3511


                                                                                  helen@gaspineortho.com

                                       GEORGIA SPINE                                  www.gaspineortho.com
                                     & ORTHOPAEDICS




                                 Atlanta/Sandy Springs         Roswell                      Tucker
                                 6160 Peachtree Dunwoody Rd   11650 Alpharetta Hwy          1350 Montreal Rd.
                                 Suite A-100                  Suite 100                     Suite 290
                                 Sandy Springs, CA 30328
                                                              Roswell, CA 30076             Tucker. CA 30004

                                 College Park                 Stockbridge
                                 2300 Camp Creek Pkwy         175 Country Club Dr
                                 Suite 150                    Bldg 100, Suite E
                                 College Park, CA 30337       Stockbridge. CA3O2S1

                                 Columbus                     Surgery Center of Roswell
                                 1345 13lh St.                11650 Alpharetta Hwy
                                 Suite Q                      Suite 200
                                 Columbus. CA 31901           Roswell, CA 30076

                                 Marietta
                                 50 Plaza Way
                                                              Suwanee/Lawrenceville
                                                              1490 Distribution Dr.
                                 Suite C                      Suite 150
                                 Marietta, CA 30060           Suwanee, CA 30024
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                 EXHIBIT 2
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 KETRA GOINS,

             Plaintiff,                     CIVIL ACTION
                                            FILE NO.: 1:23-cv-02951-SDG
 v.

 MARK SEAGRAVES AND OLD
 DOMINION FREIGHT LINE, INC.,

             Defendants.

Transcript of June 28, 2024 encounter between Matt Sessions and Helen Yesuf
Key

MS = Matt Sessions
HY = Helen Yesuf

MS: How's it going?
HY: Good. How are you?
MS: Good.
HY: Good. I’m Helen.
MS: Matt Sessions, nice to meet you, Helen.
HY: Nice to meet you. So I work with the Georgia Spine and Orthopaedics
MS: Sure.
HY: So, you know our offices are right up the street. We actually just got…
MS: Yeah
HY: ….a new spine doc.
MS: Oh, yeah.

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HY: They can also see children…um….
MS: Great.
HY: … 10 and up.
MS: Oh wow.
HY: But Dr. Bendiks is still there, but he's there.
MS: Of course.
HY: And then, um you know, Spanish speaking and all of our locations, we haven't
done anything with y 'all in a while, so I figured I would pop over here and see
what was up.
MS: Of course, yeah. Well, I'm happy to listen to whatever the pitch is for sure.
HY: Yeah. Ok.
MS: Yeah
HY: Is there, um… so are you, how many attorneys here are doing personal
injury?
MS: I don't know, there's probably 20 of us.
HY: So, everyone's doing personal injury?
MS: Sure.
HY: Okay, for some reason, I thought you had certain folks that specialized in
certain things.
MS: Well, we do both plaintiffs and defense work.
HY: Got it
MS: So some attorneys do more of one than the other.
HY: Ok.
MS: That's probably why you've only seen a couple of us.
HY: Yes, okay, so, but you do plaintiffs’ work?
MS: Sure. Yeah.
HY: Okay, yeah. Do you happen to have a card?
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MS: Uh, yeah, I probably have one back in my office. I can go get it for you
before we leave. Yeah.
HY: Okay, cool. Um but yeah, I just wanted to update you to see, you know, if
there was any issues or anything that you were aware of, um that you know, we
were working together, not anymore. Um, anything I can fix. Anything like that.
MS: No, no. You know, we just, um you know, to some degree I try to stay out of
where my personal injury clients, um you know, choose to get their medical care. I
try to let them make the decisions.
HY: Sure….um
MS: So it's not anything….
HY: Are most of your patients um doing, uh…. using their health insurance?
MS: I tell them to if they have it.
HY: Yeah.
MS: Absolutely.
HY: Ok.
MS: Yeah, yeah. Do y'all take health insurance by the way?
HY: Nuh-uh [negative]
MS: Okay. And y 'all don't do Medicare /Medicaid either, right?
HY: Nuh-uh [negative]
MS: Gotcha.
HY: No, they're just solely on lien. We're working with Wellstar currently to see if
we can um figure out a way to take insurance um to use their facility.
MS: Okay. Sure.
HY: If that pans out, then yes, we'll be able to again.
MS: Yeah
HY: There's just a lot of groups there.



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MS: Gotcha. Are y'all doing um, are y’all doing any work that's not lawsuit
related? Like are y'all doing any work that’s not either worker’s comp or personal
injury related?
HY: Um….do we do any work that’s not worker’s comp or personal injury related.
I mean we do like dog bites and stuff like that.
MS: Okay, gotcha.
HY: Is that all considered personal….
MS: Yeah, yeah, yeah. I was just curious if y'all have any patients these days that
are coming from, you know, essentially non-attorney referrals.
HY: We have cash, and we also work with, like, um patients that just find us
online and come in.
MS: Okay, gotcha. How often does that happen?
HY: I have no idea
MS: Yeah.
HY: I don’t get in the books like that.
MS: Yeah, yeah, yeah.
HY: Um, and then we also have, you know, doctor's referrals….
MS: Sure.
HY: ….from other doctor's offices.
MS: Yeah, yeah, I didn't even think about that. Makes sense.
HY: Um, it's probably, I don't know, 35-40 % is coming from like a chiropractic
office or another type of office…
MS: Yeah, yeah.
HY: … pain management, for us to do surgeries, that kind of thing.
MS: Yeah.
HY: And the rest is attorneys and then a bit of that is also cash folks….
MS: Sure. Yeah, that makes good sense. Uh so what pinged you to make you stop
by our office today?
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HY: So, um, I just got this like account, this area.
MS: Ok.
HY: So normally I'm like, West Midtown, Midtown, Buckhead, Decatur, like the
opposite direction.
MS: Yeah, yeah
HY: And so when I got this territory, I just did research to see like, oh, who is this
person?
MS: Yeah.
HY: When was the last time they sent us stuff, like that kind of thing.
MS: Gotcha.
HY: Um, and I like to fix things. So…..
MS: Sure.
HY: … I'm just like, I wonder if something happened, and no one addressed it and
so there is like not work because it went from like a couple patients being there to
like nothing.
MS: Yeah, yeah okay that's so interesting so y'all can see in your system the last
time we sent a patient over to Georgia Spine?
HY: Uh-huh…
MS: Oh, cool.
HY: ….if I specifically look for you.
MS: Okay, like search for the law firm?
HY: Mhhm.
MS: Okay.
HY: And it had to have come from the law firm.
MS: Yeah yeah, okay so y'all can like tell where your patients come from.
HY: Yeah, we have to be able to tell.
MS: Of course. Yeah, I mean, I get it. How else could you run a business.

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HY: Right …. yeah. But for all the, like, in order to give feedback to the proper
place.
MS: Yeah.
HY: Um, In order to um you know where we send bills, records, all that kind of
stuff. So, yeah.
MS: Of course.
HY: We have to keep that ….{inaudible}
 MS: Yeah. Very cool.
HY: I just want to make sure…how long have you been here?
MS: Since 2020.
HY: Oh, okay.
MS: Yeah, yeah.
HY: So, I'll be expecting a patient from you. I'm going to follow you to get a
business card.
MS: If uh… Here, I'll just bring it back to you.
HY: Okay, cool.
MS: My office is just around the corner, but, you know, if somebody wants to go
see ya, then that's uh… Yeah, yeah, yeah. I won’t stop them.
MS: Here ya go.
HY: Thank you so much.
MS: Nice to meet you, Helen.
HY: Yeah, it was so nice to meet you. Have a great weekend.
MS: Of course, if I can ever do anything else for you give me a call.
HY: I appreciate it. Thank you.
MS: Yeah.




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                  EXHIBIT 3
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  Link to original audio of Helen Yesuf’s discussion with attorney Matthew R.
  Sessions:


https://www.dropbox.com/scl/fo/h48zpdyh4cmnzjeas2897/AN9S0J7vOhqAC4I2IS7t2m4?
rlkey=wllrs69pk1kyk57umxnr9agy2&st=jzpjined&dl=0
